        Case 19-10789 Doc 28 Filed 05/05/19 Entered 05/05/19 23:32:27 Imaged Certificate of
                                        Notice Page 1 of 3
LAEB B2040 (from Official Form 2040 (12/15))


                                                 UNITED STATES BANKRUPTCY COURT
                                                      Eastern District of Louisiana


In re                                                                                                                          Case No. 19−10789

                       Christopher H Womack                                                                                    Chapter 7
                         Susan G Womack

                               Debtor(s)*


                                            About Debtor 1:                                                About Debtor 2:

 1.     Debtor's full name                       Christopher H Womack                                            Susan G Womack

                                                 Social Security number or ITIN     xxx−xx−0450                  Social Security number or ITIN     xxx−xx−6586

                                                 EIN    _ _−_ _ _ _ _ _ _                                        EIN   _ _−_ _ _ _ _ _ _

 2.      All other names used in the
         last 8 years
 3.     Address                                 511 Evergreen Dr.                                                 511 Evergreen Dr.
                                                Mandeville, LA 70448                                              Mandeville, LA 70448



                                                        NOTICE OF NEED TO FILE PROOF OF CLAIM
                                                             DUE TO RECOVERY OF ASSETS

NOTICE IS GIVEN THAT:

The initial notice in this case instructed creditors that it was not necessary to file a proof of claim. Since that notice was sent
assets have been recovered by the trustee.
Creditors who wish to share in any distribution of funds must file a proof of claim with the clerk of the bankruptcy court at the
address below on or before:


                                          CLAIMS MUST BE FILED ON OR BEFORE: August 5, 2019


Creditors who do not file a proof of claim on or before this date might not share in any distribution from the debtor's estate.
A proof of claim form may be obtained at www.uscourts.gov or any bankruptcy clerk's office. It may be filed by regular mail.
To receive acknowledgment of your filing, you may either enclose a stamped self−addressed envelope and a copy of this proof
of claim or you may access the court's PACER system (www.pacer.psc.uscourts.gov) to view your filed proof of claim.
There is no fee for filing the proof of claim.
Any creditor who has filed a proof of claim already need not file another proof of claim.

                                                                                                          Sheila Booth
 Address of the Bankruptcy Court
 Clerk, U.S. Bankruptcy Court
 500 Poydras Street, Room B−601                                                                           Clerk of the Bankruptcy Court
 New Orleans, Louisiana 70130−3386
 Telephone number: (504) 589−7878                                                                         By:


                                                                                                                Deputy Clerk

                                                                                                          Date: 5/2/19


 *Set forth all names, including trade names, used by the debtor(s) within the last 8 years. For joint debtors. set forth the last four digits of both
social−security numbers or individual taxpayer−identification numbers.
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                                        Notice Page 2 of 3
                                      United States Bankruptcy Court
                                      Eastern District of Louisiana
In re:                                                                                 Case No. 19-10789-JAB
Christopher H Womack                                                                   Chapter 7
Susan G Womack
         Debtors
                                        CERTIFICATE OF NOTICE
District/off: 053L-2          User: admin                  Page 1 of 2                   Date Rcvd: May 03, 2019
                              Form ID: 2040laeb            Total Noticed: 30


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 05, 2019.
db/db          +Christopher H Womack,    Susan G Womack,    511 Evergreen Dr.,    Mandeville, LA 70448-7574
smg            +Collector of Revenue,    City of New Orleans,    Department of Finance,
                 1300 Perdido Street, RM 1W15,    New Orleans, LA 70112-2128
smg             Louisiana Department of Revenue,    Collection Division/Bankruptcy Section,     P. O. Box 66658,
                 Baton Rouge, LA 70896-6658
smg             U. S. Attorney’s Office,    Eastern District of Louisiana,     650 Poydras Street,   Suite 1600,
                 New Orleans, LA 70130-7212
3708416        +American Express/ Gurstel Law Firm,     1275 E Fort Union Blvd Ste 116,    Midvale, UT 84047-1887
3708419        +CHW Restaurants LLC dba The Melting Pot,     5294 Corporate Blvd,    Baton Rouge, LA 70808-2503
3708421        +Department of Finance Bureau of Revenue Sales Tax,     1300 Perdido St. Rm 1W15,
                 New Orleans, LA 70112-2125
3708423        +Esplanade LLC,    8064 Summa Ave A,    Baton Rouge, LA 70809-3484
3708424        +GE Capital Franchise Finance Corp.,     1209 ORANGE ST.,   Wilmington, DE 19801-1120
3708426        +Jones Walker,    201 St. Charles Ave.,    New Orleans, LA 70170-5100
3708427        +Louisiana Department of Revenue,    PO Box 201,    Baton Rouge, LA 70821-0201
3708428     ++++MORGAN AND ASSOCIATES,    2601 NW EXPRESSWAY STE 205E,    OKLAHOMA CITY OK 73112-7265
               (address filed with court: Morgan and Associates,      2601 NW Expressway Ste 205 East,
                 Oklahoma City, OK 73112)
3711560         Regions Bank,    1180 West Peachtree NE, Suite 900,    Atlanta, Georgia 30390,
                 Attn: Arke Childrey
3708429        +Regions Bank Consumer Collections,     Drawer 550,   PO Box 11407,    Birmingham, AL 35246-0100
3708430        +Regions Visa Business,    PO Box 216,    Birmingham, AL 35201-0216
3708431        +Rushmore Loan Mgt,    P.O. Box 55004,    Irvine, CA 92619-5004
3708432        +Sales Tax Section Dept. of Finance and Revenue,     PO Box 2590,    Baton Rouge, LA 70821-2590
3708433        +Shellpoint,    55 BEATTIE PLSUITE 500,    Greenville, SC 29601-5116
3708434        +The Melting Pot Restaurants Inc.,     7886 Woodland Center Blvd,    Tampa, FL 33614-2409
3708435        +The Reserve Owners Association, Inc.,     826 Union Street, Suite 200,
                 New Orleans, LA 70112-1412
3708436        +US Small Business Administration,     Louisiana District Office,    365 Canal St Suite 2820,
                 New Orleans, LA 70130-1176

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: charles@suttonlawyer.com May 03 2019 19:49:58       Charles E. Sutton, Jr.,
                 59284 West Harbor Lane,    Lacombe, LA 70445
smg            +E-mail/Text: bankruptcy_bpc@lwc.la.gov May 03 2019 19:50:35       Louisiana Workforce Commission,
                 UI Tax Liability and Adjudications,    Attn: Bankruptcy Unit,     1001 N. 23rd Street,
                 Baton Rouge, LA 70802-3338
3708415        +EDI: AMEREXPR.COM May 03 2019 23:43:00      American Express,    PO Box 650448,
                 Dallas, TX 75265-0448
3708417         EDI: BANKAMER.COM May 03 2019 23:43:00      Bank of America,    PO Box 982238,
                 El Paso, TX 79998
3708418        +EDI: CAPITALONE.COM May 03 2019 23:43:00      Capital One NA,    10700 Capital One Way,
                 Richmond, VA 23060-9243
3708420        +E-mail/Text: CCICollectionsGlobalForms@cox.com May 03 2019 19:50:54       Cox Communications,
                 PO Box 9001079,   Louisville, KY 40290-1079
3708422         EDI: DISCOVER.COM May 03 2019 23:43:00      Discover Bank,    PO Box 15316,
                 Wilmington, DE 19850
3708425         EDI: IRS.COM May 03 2019 23:43:00      Internal Revenue Service,    PO Box 7346,
                 Philadelphia, PA 19101-7346
3715032        +E-mail/Text: charles@suttonlawyer.com May 03 2019 19:49:58
                 The Reserve Owners Association, Inc.,    c/o Charles E. Sutton, Jr.,    59284 West Harbor Lane,
                 Lacombe, LA 70445-3692
                                                                                               TOTAL: 9

           ***** BYPASSED RECIPIENTS *****
NONE.                                                                                         TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++++’ were corrected as required by the USPS Locatable Address Conversion System (LACS).
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District/off: 053L-2                  User: admin                        Page 2 of 2                          Date Rcvd: May 03, 2019
                                      Form ID: 2040laeb                  Total Noticed: 30


             ***** BYPASSED RECIPIENTS (continued) *****


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 05, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 2, 2019 at the address(es) listed below:
              Elizabeth J. Futrell    on behalf of Creditor   Regions Bank efutrell@joneswalker.com,
               mmontiville@joneswalker.com
              Madison M Hentze   on behalf of Creditor    Regions Bank mhentze@joneswalker.com,
               cmauer@joneswalker.com
              Office of the U.S. Trustee     USTPRegion05.NR.ECF@usdoj.gov
              Rachel Thyre Anderson    on behalf of Debtor Christopher H Womack rachel@rachelandersonlaw.com,
               rthyre@gmail.com
              Rachel Thyre Anderson    on behalf of Debtor Susan G Womack rachel@rachelandersonlaw.com,
               rthyre@gmail.com
              Wilbur J. (Bill) Babin, Jr.    trusteebabin@wjbabin.com, la35@ecfcbis.com
                                                                                             TOTAL: 6
